Case 2:05-cv-02374-BBD-dkv Document 10 Filed 06/02/05 Pag-e 1 of 4 Page|D 3

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IN THE UNITED STATES DlSTRlCT COURT "'" 'J""

FOR THE WESTERN DISTRICT OF TENNESSEE ;`-~,-[_»L rt -lT § g gm §_ q 3
WESTERN DIVISION - »~ tr t a s n .--

 

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GLoBAL GRANITE & MARBLE LLc )
) Civil Action No.
Plaintiff, )
)
vs. )
' ) § re
GLoBAL GRANITE sToNE & sUPPLY ) ;3§%, 53 _,_
L se .-.='
”~f€.`_“
Defendant. ) -2`?/1":3 N` "~s- -c "\
eng ;,~. \"‘ \
§§ .““§-_=@1'_,,`__#§'_,____ se »
PLAINTIFF GLOBAL GRANITE & MARBLE LLC’s §£§ ‘==’ jj ' ss
MoTIoN FoR EXPEDITED DIscovERY §§ _€~:

 

Plaintiff Global Granite & Marble LLC (“GGM”) submits the following motion for
expedited discovery pursuant to Rules 26, 33, and 34 of the Federal Rules of Civil Procedure:

l. GGM has filed a complaint for trademark infringement and other causes of action
relating to Defendant Global Granite Stone and Supply (“GGSS”) wrongful use and exploitation
of GGM’s federally registered service mark GLOBAL GRANITE & MARBLE.

2. GGM has also filed a motion for preliminary injunction seeking to enjoin GGSS’s
illicit use of a confusingly similar mark for its business and products and services.

3. To present the Court With all the facts necessary to determine the preliminary
injunction motion, and to adequately conduct a hearing on GGM’s injunction motion, GGM
needs expedited discovery in advance of the hearing

4. Because GGM has suffered irreparable injury due to the ongoing trademark

infringement, GGM needs expedited discovery to ensure that the scope of GGSS illicit behavior

is known and stemmed as soon as possible. MoTloN GRAOBO|T.E_D
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Case 2:05-cv-02374-BBD-dkv Document 10 Filed 06/02/05 Page 2 of 4 Page|D 4

In support of this motion, GGM also submits the attached Memorandum of Law which

identifies the points and authorities supporting this motion

WHEREFORE, for the foregoing reasons, GGM respectfully requests that this Court

grant its motion for expedited discovery.

Respectfully Submitted,

  
 
 

 

Bar #16017)
Harol H. Davis, Jr. (TN Bar #024054)
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Attomeys for Global Granite & Marble LLC

Case 2:05-cv-02374-BBD-dkv Document 10 Filed 06/02/05 Page 3 of 4 Page|D 5

CERTIFICATE OF SERVICE

The undersigned certifies that a true and exact copy of the foregoing document has been
served upon

Anne W. Mathis

Global Granite Stone & Supply LLC
2374 Globe Cove

Southaven, Mississippi 3367]

by hand delivery and first class U.S. mail, postage prepaid, and facsimile this j § day of
May, 2005.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CV-02374 Was distributed by fax, mail, or direct printing on
June 8, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

